Case 2:09-cr-00863-SRC          Document 54       Filed 07/09/10      Page 1 of 4 PageID: 468




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



                                       :
 UNITED STATES OF AMERICA,             :
                                       :                   Criminal No. 09-863 (SRC)
                            Plaintiff, :
                                       :
                 v.                    :                             ORDER
                                       :
 MICHAEL C. SCIARRA, PETER             :
 VENTRICELLI, MICHAEL A. SCIARRA, :
 and MARK VENTRICELLI,                 :
                                       :
                          Defendants. :



CHESLER, District Judge

       This matter having come before the Court upon the omnibus motion filed by Defendant

Michael A. Sciarra for various relief [docket entry 44], in which Defendant Michael C. Sciarra

joins; and also upon the omnibus motion filed by Defendant Michael C. Sciarra for various relief

[docket entry 45], in which Defendant Michael A. Sciarra joins; and Plaintiff the United States of

America (the “Government”) having opposed the motions and also moved for reciprocal

discovery pursuant to Federal Rule of Criminal Procedure 16(b); and the Court having

considered the papers filed by the parties and having heard the arguments of counsel; and for the

reasons expressed by the Court on the record on July 7, 2010,

       IT IS on this 9th day of July, 2010,

       ORDERED that Defendant Michael A. Sciarra’s motion to dismiss the Indictment
Case 2:09-cr-00863-SRC            Document 54        Filed 07/09/10     Page 2 of 4 PageID: 469




against him be and hereby is DENIED; and it is further

          ORDERED that Defendant Michael A. Sciarra’s motion for severance of the case against

him from the case against his Co-Defendants pursuant to Rule 14 of the Federal Rules of

Criminal Procedure be and hereby is DENIED; and it is further

          ORDERED that Counts One through Six of the Indictment be and hereby are

SEVERED from Counts 7 and 8; and it is further

          ORDERED that, in light of the Government’s representation that it possesses no Brady

material but would produce it in a timely manner should it become aware of any such material,

the motion for production of Brady material be and hereby is DENIED; and it is further

          ORDERED that the Government will provide Giglio material at least five days prior to

each witness’s testimony; and it is further

          ORDERED that the Government will provide Jencks material at least five days prior to

each witness’s testimony; and it is further

          ORDERED that the Government will provide Rule 404(b) evidence at least two weeks

before trial; and it is further

          ORDERED that the Government will provide final transcripts and all documentary

evidence which the Government intends to use at trial at least 45 days before trial; and it is

further

          ORDERED that the motion for an order to compel the Government to produce its

witness list be and hereby is DENIED; and it is further

          ORDERED that in light of the Government’s agreement, the motion to compel the

Government to preserve all rough notes, reports, drafts and final reports prepared by any

                                                 2
Case 2:09-cr-00863-SRC          Document 54          Filed 07/09/10   Page 3 of 4 PageID: 470




Government Agent or witness in connection with the investigation of this case be and hereby is

DENIED AS MOOT; and it is further

        ORDERED that the motion for an order directing the Government to redact any post

arrest statements made by the Co-Defendants which inculpate Michael A. Sciarra be and hereby

is DENIED WITHOUT PREJUDICE; and it is further

        ORDERED that the motion for a hearing to determine the admissibility of all tape

recordings be and hereby is DENIED; and it is further

        ORDERED that the motion for a pre-trial hearing to determine the existence of a

conspiracy be and hereby is DENIED; and it is further

        ORDERED that the motion for an order directing the Government to disclose all

conspirators’ statements the Government intends to use at trial be and hereby is DENIED; and it

is further

        ORDERED that the motion for an order directing the Government to disclose the names

of all informants who were present when any of the acts alleged in the Indictment took place be

and hereby is GRANTED only to the extent that the Government shall advise Defendants

whether any such informants exist; and it is further

        ORDERED that the motion to compel the Government to produce Rule 16(a)(1)

evidence be and hereby is DENIED AS MOOT; and it is further

        ORDERED that the motions by both Michael A. Sciarra and Michael C. Sciarra for an

order directing the Government to produce a Bill of Particulars be and hereby are DENIED; and

it is further




                                                 3
Case 2:09-cr-00863-SRC      Document 54        Filed 07/09/10   Page 4 of 4 PageID: 471




      ORDERED that the Government’s motion for reciprocal discovery pursuant to Federal

Rule of Criminal Procedure 16(b) be and hereby is GRANTED.


                                         s/Stanley R. Chesler
                                        STANLEY R. CHESLER
                                        United States District Judge




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